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           FINRA Dispute Resolution Services
     Arbitrator Resource Guide for Virtual Hearings
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  Introduction
  The coronavirus disease 2019 (COVID 19) has increased the demand for effective virtual hearings to
  ensure that arbitration and mediation cases proceed without lengthy delays. Upon request of the
  parties or order of the Panel, FINRA Dispute Resolution Services is providing videoconferencing through
  the Zoom platform, accessible via finra.zoom.us.

  FINRA Dispute Resolution Services is providing this Resource Guide to help arbitrators conduct effective
  virtual arbitration hearings via the Zoom platform.

  Getting Started
  What You Need
      1. A PC, laptop or large tablet (with built-in camera and microphone):
              a. If available, a large screen is better, particularly for hearings with many participants.
              b. If a PC, laptop or large tablet is unavailable, a smart phone may be used in some
                  circumstances (noting that the screen is smaller and not optimal).
      2. Notepad and pen as the screen you are using to participate in the virtual hearing may not be
         available for other purposes, such as taking notes or viewing documents through the DR Portal.
      3. A high-speed internet connection. If available, a hard-wired internet connection is preferable to
         a wireless internet connection.
      4. A quiet, private location and neutral background. See Effective Practices for more information.
      5. If available:
         a. Dual monitors (or a single monitor and a laptop screen). This allows the virtual hearing to
              appear on one screen, while the other can be used for other purposes, such as viewing
              documents through the DR Portal or taking notes.
         b. A good quality webcam.

  Additional Considerations for Virtual Hearings
  Additional considerations that the Panel should be aware of when proceeding with virtual hearings
  include:

  Fairness and Impartiality
      1. The platform must allow parties to present evidence and testimony, including direct and cross-
         examination of witnesses.
      2. All persons in each videoconferencing location must be permitted to participate in the hearing
         and be clearly identified before the virtual hearing begins. See Witnesses for more information.
      3. Any relevant documents must be clearly identified, disclosed and provided to the Panel.
      4. The Panel must postpone the virtual hearing until further notice if the Panel believes the virtual
         hearing will result in unfairness to any party.

  Confidentiality and Security
  FINRA has taken additional measures related to the security of virtual hearings held via Zoom. See
  FINRA’s Security Considerations for more information.

  In addition to FINRA’s security measures, the Panel should:


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      1. Require that only the parties, party representatives, witnesses and other relevant individuals to
         the proceeding be permitted to participate in the virtual hearing.
      2. Discourage the use of virtual backgrounds so that the Panel can clearly see the videoconference
         location and ensure that there are no unauthorized attendees.
      3. Prohibit the recording of the virtual hearing (other than the official FINRA recording by the
         Host).

  Technology Challenges
  The seamless running of technology is vital to the success of a virtual hearing. Power outages and
  internet disconnections can limit the effectiveness of the videoconferencing platform. Accordingly, the
  Panel should have contingencies in place in the event the primary platform fails or otherwise becomes
  impractical to use. For example, if disconnected, a participant may dial-in to the hearing by telephone so
  that the parties and panel can discuss whether the hearing can proceed or should be postponed.

  Preparing for the Virtual Hearing
  FINRA Dispute Resolution Services provides training to neutrals on using Zoom and videoconferencing
  effective practices. See Effective Practices for more information.

  Prior to a virtual hearing, FINRA Dispute Resolution Services will set up a Zoom “trial run” with the Panel
  to test the Panel’s equipment, familiarize the Panel with the Zoom platform and ensure that the Panel
  understands the following functions:

      •   Overall Display
      •   Control Panel
      •   Participant List
      •   Muting/Unmuting
      •   Share Screen
      •   Passing Control
      •   Inviting a Participant
      •   Waiting Room/Breakout Rooms
      •   Locking the Hearing

  During the “trial run,” FINRA Dispute Resolution Services will:

      1. Troubleshoot and assist to resolve any technical issues with the Panel’s equipment.
      2. Check the arbitrators’ background and lighting conditions to ensure that they are appropriate
         for the virtual proceeding.
      3. Discuss the responsibilities for hosting/co-hosting and recording.

  Upon request, FINRA Dispute Resolution Services can also set up a Zoom “trial run” with the parties or
  party representatives. Note, however, that each party is responsible for setting up a “trial run” for its
  witnesses in advance of the virtual hearing.

  Note to the Chairperson
  Prior to the virtual hearing, the Chairperson may want to request that the parties provide a Virtual
  Hearing Participant List so that, on the day of the hearing, the Chairperson can ensure that only
  authorized individuals are admitted into the videoconference. The Virtual Hearing Participant List would

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  provide the name, email address and phone number for each participant and would be submitted in
  addition to the witness list (which is required under Rules 12514(b)/13514(b) of the Codes of Arbitration
  Procedure (“Codes”)).

  Commencing the Virtual Hearing
      1. Prior to the commencement of the hearing:
              a. The Panel should arrive 15-30 minutes early to set up.
              b. The FINRA Case Administrator will be the Host for the meeting, unless the Panel
                  designates an arbitrator as the Host (see paragraph (c) below). The Host has access to
                  additional functions such as recording, and managing participants, the breakout rooms
                  and the waiting room.
              c. If an arbitrator is comfortable with running the virtual hearing and wishes to do so, the
                  Panel may designate that arbitrator as the Host. The Host function can only be retained
                  by a FINRA Case Administrator or an arbitrator.
      2. If an arbitrator chooses to retain the Host function, the FINRA Case Administrator will continue
         to be available during the virtual hearing for ongoing technical support. See Technical Support
         for more information.
      3. At the commencement of the virtual hearing:
              a. The Host will verify the participants as they are admitted into the videoconference and,
                  as necessary, will set up breakout rooms (e.g. for executive sessions and for each
                  represented party).
              b. Once all participants have joined, the meeting will be locked to prevent any additional
                  attendees from joining.
              c. The Host will start the recording.

  Chairperson’s Opening
  The Chairperson should add the following to his or her opening remarks:

      1. Ask each participant to affirm that:
         a. No unauthorized individuals are present in each participant’s videoconferencing location.
             The Chairperson may require participants to scan their videoconference locations with the
             camera to show that there are no unauthorized individuals in the room.
         b. No one will record this virtual hearing (or any part of it) other than the official FINRA
             recording (per Rules 12606/13606 of the Codes), as controlled by the Host.
      2. Advise that participants can share documents (e.g. exhibits) using the Share Screen feature, but
         that all documents must still be provided to the Panel.
      3. Advise the panel and parties to avoid sharing personal confidential information, unless such
         sharing is necessary for the proceedings.
      4. Create a back-up plan if a participant’s power or internet is disconnected. For example, if unable
         to get back into the videoconference, the participant can call or email the FINRA Case
         Administrator so that the Panel can be advised and a plan to resume the hearing can be made.




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  Recording the Virtual Hearing
  FINRA records evidentiary and expungement virtual hearings in accordance with Rules 12606/13606 of
  the Codes. While both the audio and video of the virtual hearing is recorded, FINRA retains only the
  audio recording for the case file. Accordingly, the audio recording is the official FINRA recording under
  Rules 12606/13606 of the Codes. FINRA retains the recording of any evidentiary and expungement
  virtual hearings in accordance with FINRA’s record retention obligations.

  Upon the commencement of the evidentiary or expungement virtual hearing, the Host will:

               1. Start the recording.
               2. Clearly announce that the hearing is being recorded.

  As with physical recorders, the Host should pause or stop the recording for breaks and remember to re-
  start the recording upon return to session.

  During the Virtual Hearing
  Participant Etiquette
           For the early part of the hearing, the Panel should ask that participants state their names before
           speaking so other participants can easily identify the speaker.

  Breaks
           Virtual hearings can be tiring. The Panel may want to consider allowing two shorter breaks in
           the morning and two shorter breaks in the afternoon.

  Host Responsibilities
           During the virtual hearing, the Host should:
               1. Keep the participant list open and watch for participants who may be disconnected from
                   the videoconference.
               2. Monitor the waiting room.
               3. Manage the virtual hearing by utilizing some of the following key features:
                       a. Share Screen – allows the Panel and parties to share documents (e.g.
                           exhibits). Participants can also annotate documents if required (particularly
                           helpful for witnesses).
                       b. Breakout rooms - for executive sessions with the Panel or to allow
                           party representatives to convene with their clients.
               4. Be aware of anyone who may need to join (e.g. witnesses) so that the videoconference
                   can be unlocked to allow them access.

  Witnesses
      1. The Panel should advise party representatives to call their witnesses prior to the time that they
         need to testify so that they can be joined to the videoconference. The Host will need to unlock
         the videoconference to allow the witness entry.
      2. The Panel may want to ask the witness to pan the room with the camera to show that no one
         else is present in the room.



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  Technical Support
         The FINRA Case Administrator will be available during the virtual hearing to:

             1. Control entry of the participants to the proceeding.
             2. Facilitate the use of breakout rooms where required.
             3. Troubleshoot any technical issues.

         FINRA Dispute Resolution Services has trained staff to utilize the Zoom videoconferencing
         platform and has purchased Zoom Pro licenses for use in virtual hearings.

  Effective Practices
         The Panel should keep in mind the following effective practices for a successful virtual hearing:

  Location and Background
     1. Ensure your location is well-lit. Backlighting is not desirable.
     2. Ensure that you have a neutral background to minimize distractions.

  Audio Considerations
     1. Ensure your location is quiet.
     2. Mute your microphone when not speaking. This will avoid any background noise like
        construction, lawnmowers, barking dogs, televisions, etc. Be sure to turn your microphone back
        on before speaking.
     3. If not muted, take notes quietly. If necessary, use pen and paper as opposed to using a
        keyboard.
     4. Mute all other devices (e.g. cellphones/iPads).

  Minimize Distractions
     1. Position your camera at eye level. When a camera is angled too high or too low, it can be
        distracting. Also, ensure your computer is on a flat surface.
     2. Turn off any pop-up computer notifications (e.g. emails) to prevent these from distracting you
        during the virtual hearing. This will also prevent notifications from appearing in the event you
        use the Share Screen function.
     3. Close all windows other than Zoom, the DR Portal and any case-related documents – this helps
        with bandwidth and minimizes confusion/distraction.
     4. Avoid multitasking. Do not check your cell phone or emails during the hearing.

  Dress and Etiquette
     1. Always look professional and dress as if you are meeting in-person.
     2. Do not turn off your video and always remain visible on camera to the parties during the virtual
        hearing. Don’t walk around while on camera. If you need to leave the room, please announce it
        as you would if you were in-person.
     3. Be conscious of your body language. Despite being on videoconference, the parties are still
        watching your engagement.
     4. Do not eat during the virtual hearing. Ensure that enough breaks are provided accordingly.




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  FINRA’s Security Considerations
  FINRA implements the following security measures for all arbitrations and mediations conducted by
  Zoom:

      •   A unique, randomly-generated meeting ID;
      •   A unique, randomly-generated meeting password to be admitted to the meeting; and
      •   Use of the “waiting room feature” to ensure that only invited participants are admitted to the
          meeting.

  In addition, FINRA-administered meetings are restricted to Zoom’s US data centers.

  For additional information on how Zoom maintains the security of its service, visit Zoom's Privacy and
  Security Page or consult Zoom’s Best Practices for Securing Your Zoom Meetings or Zoom's Security
  Whitepaper.

  Technical Support and Resources
  If you have further questions, you can contact your FINRA Case Administrator.

  In addition, Zoom has some resources you may find helpful:

      •   For technical documentation or quick start videos: Visit the Zoom Help Center
      •   For free and interactive live training webinars on important topics hosted by Zoom experts:
          View Live Trainings & Recordings

  There are a number of topic-specific tutorials on Zoom’s website; the following are recommended for
  virtual hearings:

      Zoom Meetings and Webinars

      •   Join a Meeting
      •   Meeting Controls
      •   Breakout Rooms
      •   Closed Captioning

      Audio, Video and Sharing

      •   Recording a Zoom Meeting
      •   Joining and Configuring Audio and Video
      •   Sharing Your Screen

  Disclaimers
  FINRA notes that virtual hearings are conducted through Zoom, which is a third party platform. The use
  of this platform for virtual hearings is subject to Zoom’s terms and policies, for example:
  https://zoom.us/privacy-and-legal. FINRA arranges virtual hearings through Zoom for the Panel’s and
  parties’ convenience. FINRA does not endorse any one platform over another nor does FINRA guarantee
  the suitability or availability of any platform. Any concerns regarding the use of a third party
  videoconferencing platform should be raised by copying correspondence to all parties in the case.


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